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The following constitutes the ruling of the court and has the force and effect therein described.


Signed June 16, 2022
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION
                                                          §
IN RE:                                                    §               CASE NUMBER: 22-40420-MXM
                                                          §
VERONICA LYNN DENNIS                                      §               CHAPTER 13
  DEBTOR                                                  §
                                                          §               JUDGE MARK X MULLIN

           ORDER DISMISSING CHAPTER 13 CASE PURSUANT TO GENERAL ORDER 2021-05
                                      (14 DAY NOI-$)

    Came on for consideration the "Trustee's Notice of Intent to Dismiss Chapter 13 Case Pursuant to General Order
2021-05 (14 Day NOI-$)" ("Notice") filed on or about 05/23/2022 [Docket #30]. The Court finds that notice was and is
appropriate under the circumstances.
    The Court is of the opinion that the CHAPTER 13 Case should be DISMISSED based on the pleadings , evidence, and
arguments of counsel, if any, at the hearing held on June 13, 2022.
    IT IS THEREFORE ORDERED that this case is hereby DISMISSED without prejudice pursuant to General
Order 2021-05 paragraph 3e PROVIDED that if, within 14 days of entry hereof, a creditor in this case files a motion to
amend this order and seeks a dismissal with prejudice, sanctions or other relief deemed appropriate by the Court, this
Order may be amended by the Court, after notice and a hearing, to grant the relief sought in said motion in whole or in
part.
   IT IS FURTHER ORDERED that all debts due and owing creditors as of this date are NOT DISCHARGED or
affected in any manner by this Order.
  THE ABOVE STYLED AND NUMBERED CASE WILL BE CLOSED 21 DAYS AFTER THE ENTRY OF
THIS ORDER PROVIDED THAT IT IS A SINGLE DEBTOR CASE OR A JOINT DEBTOR CASE AND
BOTH DEBTORS ARE DISMISSED.
                                               # # # End of Order # # #
 APPROVED:

 /s/ Tim Truman
 Tim Truman, Trustee/State Bar # 20258000
